IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF lNDIANA
LAFAYETTE DIVISION

l\/IYRON MOREHOUSE and
AMY MOREHOUSE,

Plaintiff,
Case No. 4:16-CV-00004

V.

FLUOR ENTERPRISES, INC.,
ECOA INDUSTRIAL PRODUCTS, INC.,
ALCOA, INC., and ABP INDUCTION, LLC,

\/\./\/V\/\/\./\/\./\/\./\/

Defendants.

THIRD REPORT OF MEDIATOR

 

The undersigned mediator in this matter, Douglas J. Hill, conducted negotiations
following the last mediation session on February 15 , 2019, and this case has been settled

/s/ Douglas J. Hill
Douglas J. Hill (Atty. #7518-49)
Mea'iator

CERTIFICATE OF SERVICE

The undersigned counsel hereby certifies that a copy of the foregoing has been served by
using the Case Management/Electronic Case Filing Systern (“CM/ECF”) and/or by depositing
said copy in the United States l\/Iail, First Class, postage prepaid upon the following person(s) as
listed below:

Robeit W. Johnson - #17391-49
Johnson Jensen, LLP

One Indiana Square, Suite 1640
Indianapolis, IN 46204
317.269.7799 Telephone
riohnson@iohnsoniensen.coin

Counsel for Plaintiffs

 

 

William P. Kealey - #18973-79
Matthew K. Wollin ~ #32301-79
Stuart & Branigin, LLP

300 Main Street, Suite 900

P . O. BoX 1010

Lafayette, lN 47902-1010
765.423.1561 Telephone

ka@stuartlaw.com
rnl<W@stuartlaW.coin

Counsel for Defendant Alcoa, Inc. n/k/a
Arconic, Inc.

Scott L. Bunnell - #4092-98
Andrew S. Williams - #23797~02
Hunt Suedhoff Kalamaros, LLP
803 S. Calhoun Street, Ninth Floor
Fort Wayne, IN 46802
260.423.131 1 Telephone

sbunnell hsk-law.coin
awilliams@hsk-law.coin

Counsel for Defendant ECOA Industrial Products, Inc.

Larry G. Evans - #8180-64
Kimberly P. Peil - #2903 9~45
Hoeppner Wagner & Evans, LLP
103 E. Lincolnway

Valparaiso, IN 46383-5637
219.464.4961 Telephone

levans hWelaW.coin

kpeil@hwelaw.coin

Counsel for Defendant Fluor Enterprises, Inc.

Michael T. Clarke - #29869-45
Cameron J. Wall - #6317121
Kralovec & Marquard, Chartered
55 West Monroe Street, Suite 100
Chicago, IL 60603

312.346.6027 Telephone
Mike.clark@kraloveclaw.coin
Calneron.Wall@kraloveclaw.coln

Counsel for Defendant ABP Induction, LLC

 

Dated this the 22nd day of April 2019.

/s/ Douglas J Hill
Douglas J. Hill

Douglas J. Hill

HILL KNoTTs & GoLDMAN, LLC
300 N. Meridian Street, Suite 1290
Indianapolis, Indiana 46204
Telephone: (317) 762-2058

 

 

